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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


    IN RE: FEMA                                                                     MDL NO. 1873
    FORMALDEHYDE
    PRODUCT LIABILITY LITIGATION                                                  SECTION “N-5"

                                                                          JUDGE ENGELHARDT

                                                                          MAG. JUDGE CHASEZ

    THIS DOCUMENT IS RELATED TO:
    Grace A. Gonzales, individually and as wrongful
    death beneficiary and representative of S. M.M.,
    et al v Forest River, Inc., et al
    Case No. 2:10-cv-1358
    ______________________________________________________________________________

                                       ORDER
    ______________________________________________________________________________

           Considering the foregoing Second Motion of Plaintiffs, Plaintiffs are allowed until

    August 2nd, 2010, or until __________________, 2010, to serve the Defendants.

           IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Motion for

    Extension of Time to Serve.
Hello This is a Test
                        24th day of _______________,
             DATED this ____            June         2010 in New Orleans, Louisiana.



                                                By:     ____________________________________
                                                        KURT D. ENGELHARDT
                                                        UNITED STATES DISTRICT JUDGE

    Submitted By:
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